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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK                                    Hearing Date: 5/18/16 @ 9:30 a.m.
--------------------------------------------------------X       ID#: XX-XXXXXXX
In re:

                                                                Chapter 7
                                                                Case No.: 15-72109-reg
DANIEL T. MENEZES and
CAROLINE MENEZES,
                                                                NOTICE OF MOTION FOR AN ORDER
                                                                TO APPROVE EMPLOYMENT
                              Debtors.                          OF COUNSEL FOR TRUSTEE
----------------------------------------------------X
SIR/MADAM:


         PLEASE TAKE NOTICE that upon the annexed application of Richard L. Stern,

Chapter 7 Trustee, a hearing will come on to be heard before the Honorable Robert E.

Grossman, United States Bankruptcy Judge, at chambers, United States Bankruptcy

Court, Long Island Federal Courthouse, 290 Federal Plaza, Room 860, Central Islip,

New York 11722, on the 18th day of May, 2016 at 9:30 a.m. pursuant to 11 U.S.C.

Sections 330(a)(3)(F). for an Order approving employment of Macco & Stern, LLP as

attorneys to the Trustee, and granting the trustee such other, and further relief as this

Court may deem just and proper.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the proposed Order must

be in writing and filed with the Clerk of the Court, United States Bankruptcy Court, Eastern

District of New York, 290 Federal Plaza, Central Islip, New York, 11722, (a)(i) through the

Bankruptcy Court’s electronic filing system (in accordance with General Order M-242), which

may be accessed (with a password which is available by contacting the Bankruptcy Court’s

technical assistance at 631-712-6200, Monday through Friday, 8:30 a.m. to 5:00 p.m. )

through the Internet at the Bankruptcy Court’s website: www.nyeb.uscourts.gov using

Netscape Navigator software version 3.0 or higher, and (ii) in portable document format (PDF)

using Adobe Exchange software for conversion; or (b) if a party is unable to file electronically,

such party shall submit the objection in PDF format on a diskette in an envelope with the case
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name, case number, type and title of document, document number of the document to which

the objection refers, and the file name on the outside of the envelope; or (c) if a party is unable

to file electronically or use PDF format, such party shall submit the objection on a diskette in

either Word, WordPerfect, or DOS text (ASC II) format. An objection filed by a party with no

legal representation shall comply with section (b) or (c) as set forth in this paragraph. A hard

copy of the objection, whether filed pursuant to section (a), (b), or (c), as set forth in this

paragraph, shall be hand-delivered directly to the Chambers of the Honorable Robert E.

Grossman so as to received by Richard L. Stern, Chapter 7 Trustee, 2950 Express Drive

South, Suite 109, Islandia, New York 11747, Attn: Richard L. Stern, Esq. no later than May

13, 2016.

        PLEASE TAKE FURTHER NOTICE that opposition papers, if any, must be served and
filed at least 3 business days before the return date of this hearing.

DATED:         Melville, New York
               April 18, 2016
                                                YOURS ETC.,

                                                By:__/s/ Richard L. Stern_____
                                                RICHARD L. STERN
                                                Chapter 7 Trustee
                                                Macco & Stern, LLP
                                                2950 Express Drive South
                                                Suite 109
                                                Islandia, NY 11749
                                                (631) 549-7900
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UNITED STATES BANKRUPCY COURT                                                                 XX-XXXXXXX
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
In re:

                                                                     Chapter 7
                                                                     Case No.: 15-72109-reg
DANIEL T. MENEZES and
CAROLINE MENEZES,

                              Debtors.
-------------------------------------------------------------------X

                                          ORDER FOR RETENTION
                                       OF ATTORNEYS FOR TRUSTEE

       Upon the application of RICHARD L. STERN, ESQ., trustee of the above captioned

estate, dated April 18, 2016, seeking an Order authorizing him to employ and retain the law

firm of MACCO & STERN, LLP, as attorneys in the within proceeding, under the provisions of

a General Retainer, and upon the affidavit of MICHAEL J. MACCO, a member of the firm of

MACCO & STERN, LLP, stating that the said law firm has no present connection with any of

the creditors, and further that they represent no adverse interest to the above estate in the

matters upon which they are to be engaged, and it appearing that it is necessary for the

Trustee to retain such counsel, it is

       ORDERED, that RICHARD L. STERN, ESQ., Chapter 7 trustee be, and he hereby is,

authorized to retain the law firm of MACCO & STERN, LLP, as attorneys to represent him in

the within proceeding under a General Retainer and it is further

       ORDERED, that no compensation or reimbursement of expenses shall be paid Macco &

Stern, LLP for professional services rendered to the Trustee, except under a proper

application and by further order of this Court following a hearing on notice pursuant to Sections

330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules, and it is

further

          ORDERED, that ten business days prior to any increase in Attorney’s rates for any

individual employed by the Attorney and retained by the Trustee pursuant to court order,

Attorney shall file a supplemental affidavit with the Court setting forth the basis for the
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requested rate increase pursuant to 11 U.S.C. Sections 330(a)(3)(F). Parties in interest,

including the United States Trustee, retain all rights to object to or otherwise respond to any

rate increase on any and all grounds, including, but not limited to, the reasonableness

standard under 11 U.S.C. Section 330. Supplemental affidavits are not required for rate

increases effective on or after the date the Trustee submits the Trustee’s Final Report to the

United States Trustee.



Dated: Central Islip, New York

                                                           ___________________________
                                                           ROBERT E. GROSSMAN
                                                           United States Bankruptcy Judge
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
In re:

                                                                   Chapter 7
                                                                   Case No.: 15-72109-reg
DANIEL T. MENEZES and
CAROLINE MENEZES,

                                     Debtors.
---------------------------------------------------------------------X
                                       APPLICATION FOR RETENTION
                                        OF ATTORNEYS FOR TRUSTEE


TO THE HONORABLE ROBERT E. GROSSMAN BANKRUPTCY JUDGE:

                 The application of RICHARD L. STERN, respectfully represents:

                 1.      That he is the Trustee herein, duly qualified and acting as such.

                 2.      The Debtors filed a Petition under Chapter 7 of the Bankruptcy Code on

May 13, 2015.

                 3.      That applicant desires to retain MACCO & STERN, LLP, of 135 Pinelawn

Road, Suite 120 South, Melville, New York 11747, as his attorneys herein.

                 4.      That Applicant has selected said attorneys for the reasons that such

attorneys are familiar with bankruptcy practice and are well qualified to act in the capacity as

attorneys for the Trustee.

                 5.      That it is necessary for Applicant to employ attorneys to render the

following professional services:

                 (a) that it will be necessary to conduct examinations of the Debtor and various

witnesses as to the acts, conduct and property of the Debtor herein;

                 (b) that it will be necessary to prepare numerous applications and reports, for

which services attorneys will be necessary;

                 (c) that it will be necessary to conduct an investigation to discover all possible

assets and to reduce same to cash.
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              6.    To the best of Applicant's knowledge, said attorneys have no connection

with the Debtor, or any other party in interest or their respective attorneys.

             7.     That the current billing rates for the law firm of MACCO & STERN, LLP is

the sum of $495.00 for partner’s time which consists of Michael J. Macco and Richard L.

Stern, $375.00 for senior associate’s time, and $300.00 for junior associates.

            8.      There has been no compensation paid to the firm, nor has there been any

promise of compensation.

            9.       That applicant has not previously rendered professional services to the

Debtor.

            10.      That MACCO & STERN, LLP, represent no interest adverse to the Trustee

or to the estate in the matters upon which they are to be engaged herein, and their

employment would be in the best interests of the estate.

             11.     The trustee believes that it is in the interest of the estate to retain general

bankruptcy counsel at this time. In the event there is a potential settlement or a need to bring

on an application before the Court, counsel for the trustee will be able to do it on an expedited

basis since the retention Order will already be in place.

             WHEREFORE, Applicant prays for the annexed Order, for which no previous

application has been made.


Dated: Islandia, New York
       April 18, 2016                                        /s/ Richard L. Stern

                                                            ______________________
                                                             RICHARD L. STERN
                                                             Chapter 7 Trustee
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
In re:

                                                                      Chapter 7
                                                                      Case No.: 15-72109-reg
DANIEL T. MENEZES and
CAROLINE MENEZES,
                                                                           AFFIDAVIT
                                           Debtors.
------------------------------------------------------------------X

STATE OF NEW YORK )
                  ) ss:
COUNTY OF SUFFOLK )


                 MICHAEL J. MACCO, ESQ., being duly sworn, deposes and says:

                 1.      I am an attorney at law admitted to practice before this Court and I am a

member of the firm of MACCO & STERN, LLP, which maintains its offices at135 Pinelawn

Road, Suite 120 South, Melville, New York 11747.

                 2.      That deponent's firm has no present connection with the above debtors, its

creditors or any other party in interest, or its respective attorneys and accountants.

                 3.      Your deponent and your deponent's firm represent no adverse interest to

the above captioned estate. The undersigned is the attorney who will bear primary

responsibility for the representation whose authority is sought herein.

                 4.      That the undersigned has read and is generally familiar with (1) the

Bankruptcy Reform Act of 1978 (11 U.S.C.); (2) The Bankruptcy Rules; (3) The Local Rules of

the United States Bankruptcy Court for the Eastern District of New York.

                 5.      That the undersigned is competent to represent the interests of the entity

on whose behalf representation is now sought in all proceedings now pending or which may

reasonably be expected to be pending in this Court in the foreseeable future.
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             6.   Based on the foregoing, I believe the firm of MACCO & STERN, LLP, is a

"disinterested person" within the meaning of Sections 101(14) and 327 of the Bankruptcy

Code.

                                                          /s/ Michael J. Macco
                                                          ___________________________
                                                            MICHAEL J. MACCO

Sworn to before me this
18th day of April, 2016
/s/ Jeanette Hodgins
________________________
NOTARY PUBLIC
Jeanette Hodgins
Notary Public, State of New York
No.01H0671591
Qualified in Suffolk County
Commission Expires March 18, 2018
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UNITED STATES BANKRUPTCY COURT                                              trs5087
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X
In re:

                                                               Chapter 7
                                                               Case No.: 15-72109-reg
DANIEL T. MENEZES and
CAROLINE MENEZES,
                                                               AFFIDAVIT OF SERVICE

                                       Debtors.
----------------------------------------------------------X
STATE OF NEW YORK
COUNTY OF SUFFOLK) ss.:

         JEANETTE HODGINS, being duly sworn deposes and says: deponent is not a party to

this action, is over 18 years of age and resides at East Northport, New York.

         On April 18, 2016, deponent served the within Motion to Employ Macco &

Stern, LLP as Attorneys for Trustee upon the following parties at the addresses

designated by said parties for that purpose, by depositing a true copy of same,

enclosed in a post-paid properly addressed wrapper in an official depository under the

exclusive care and custody of the United States Postal Service within the State of

New York:


Office of the U.S. Trustee
Long Island Federal Courthouse
560 Federal Plaza
Central Islip, NY 11722

Daniel T. Menezes and Caroline Menezes
Debtors
143 Meadows Path
Wading River, NY 11792

Robert L. Pryor, Esq.
Attorney for the Debtors
Pryor & Mandelup
675 Old Country Road
Westbury, NY 11590

John Menezes
40 Seneca Drive
Noank, CT 06340
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Jeffrey B. Hulse, Esq.
Attorney for John Menezes
295 North Country Road
Sound Beach, NY 11789


Synchrony Bank
c/o Recovery Management Systems Corporations
25 SE 2nd Avenue
Suite 1120
Miami, FL 33131-1605

                                                     /s/ Jeanette Hodgins
                                                     _____________________________
                                                     JEANETTE HODGINS
Sworn to before me this
  18th day of April , 2016

/s/ Richard L. Stern
_______________________
NOTARY PUBLIC
RICHARD L. STERN
Notary Public, State of New York
No. 02ST4665096, Suffolk County
Commission Expires April 30, 2018
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Case No.: 15-72109-reg
Chapter 7



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

_________________________________________________________________________
In Re:


      DANIEL T. MENEZES AND CAROLINE MENEZES




                           Debtors.

_________________________________________________________________________


          MOTION FOR RETENTION OF ATTORNEYS FOR TRUSTEE

_________________________________________________________________________



                                 RICHARD L. STERN
                                   Chapter 7 Trustee
                                135 PINELAWN ROAD
                                  SUITE 120 SOUTH
                                MELVILLE, NY 11747
                                    (631) 549-7900
